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13                            UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                         Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of         DECLARATION OF G
   themselves and all others similarly situated,          M     IN SUPPORT OF
17               Plaintiffs,
                                                          PLAINTIFFS’ MOTIONS FOR
                                                          PRELIMINARY INJUNCTION
18        v.                                              AND PROVISIONAL CLASS
                                                          CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4257121.7]
         DECLARATION OF G        M     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, G       M      , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I am incarcerated in federal prison and am incarcerated at FCI Dublin from
 6 August 2020 to present. I am currently housed in the F-Unit of FCI Dublin. In the past, I
 7 was located in the B-Unit of FCI Dublin. In the future BOP may transfer me to other BOP
 8 facilities, including potentially FCI Tallahassee. However, at any point I could be
 9 transferred back to FCI Dublin.
10                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
11 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
12 and put myself and other incarcerated persons at substantial risk of serious harm from
13 sexual assault, harassment, and retaliation from staff.
14                 4.     While I worked as a telemarketer in Unicor from about September 2020 to
15 September 2021 at FCI Dublin, I was sexually harassed by Officer Nunley.
16                 5.     About 3-4 months after I started work, Officer Nunley began throw notes at
17 me and tell me that he wanted me to meet him in the back. Officer Nunley also told me
18 that he wanted me to have sex with me. While at my workstation, Officer Nunley would
19 frequently pull my hair, rub my shoulders, and attempt to kiss me.
20                 6.     He offered to write me a letter of recommendation and did so. Officer
21 Nunley also told me he would help my kids and send them money. I understood these
22 offers to be a proposed exchange for sex.
23                 7.     On one occasion later that spring, after he had returned from vacation, while
24 he was showing me pictures, he took while attending a game at the Raiders stadium on his
25 laptop, and I was bent over looking at them, he rubbed his penis against my backside and
26 tried to kiss my neck.
27                 8.     In approximately May 2021, I defended myself in a fight and I got sent to the
28 SHU for no reason. Afterwards, staff went through my belongings and claimed that they
     [4257121.7]                                          1
         DECLARATION OF G        M     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
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 1 had found medication that was not mine and gave me a ticket. I think during that cell
 2 search, they found notes that Nunley had given me. Lt. Golden gave me a copy of the
 3 shot, but it was full of misinformation, I brought it to work and put it on my desk.
 4 Lt. Golden called Nunley and asked Nunley to get the copy of the shot from me because he
 5 knew it was full of errors. Nunley came and took the paper from my desk, I said give it
 6 back, he said only if you have sex with me. I refused, and he shredded it. A few days
 7 later, I was taken to the SHU for 4.5 months, until September or October 2021. This came
 8 as a surprise because I was already working back at Unicor. They took my communication
 9 with my kids for 7 months; I had no emails, only one 5-minute phone call a week.
10                 9.    I was also sexually harassed by Officer Smith. While I was housed in the J2
11 Quarantine Unit for the first twenty days after my arrival to FCI Dublin, Officer Smith
12 would enter the showers and refuse to give myself and others towels until we walked over
13 to him while naked.
14                 10.   During that time, I also witnessed officers use Kit-Kat Bars to bribe women
15 into revealing and touching themselves. I witnessed officers state that if the women
16 wanted the Kit-Kat they needed to “break off a piece” for the officer, which meant
17 revealing or touching themselves. I witnessed other food and hygiene products being used
18 as bribes in the same manner. Officer Smith also made women perform sexual acts in
19 order to receive basic privileges, such as sending mail out. I would hand him mail without
20 stamps, and he would ask if we wanted our mail to go out, and he would say, “show me
21 something.”
22                 11.   When I arrived at FCI Dublin in 2020 I was informed of PREA during my
23 orientation. Orientation is about an hour long and staff from different “departments” come
24 and speak to us about the rules. Approximately five minutes was spent discussing PREA.
25 We were only told to report if “stuff” happened
26                 12.   Staff at FCI Dublin have never worn body-worn cameras in the facility and
27 despite ongoing sexual abuse and assault at the facility staff still do not use body-worn
28 cameras. There are some cameras installed in fixed locations in the facility, but it is well
     [4257121.7]                                       2
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 1 known that there are no cameras in the J2 Quarantine Unit.
 2                 13.   There is no effective way to confidentially report sexual assault and abuse by
 3 staff at FCI Dublin.
 4                 14.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
 5 by staff and retaliate against people who do report. I was scared to file a BP-9. Other
 6 inmates encouraged me to eventually report. Just getting BP-9s to file is a great challenge.
 7 Mr. Villanueva, my counselor, didn’t know where they were when I asked him and
 8 wouldn’t give them to us. Other officers, like Mr. Craig, or Mr. Shirley, say to talk to your
 9 unit team to get them, but we don’t have a unit team on F-side right now.
10                 15.   In July 2022, Officer Putnam called me into his office and asked if I had
11 anything to tell him. At that time, I filed a PREA complaint about Officer Nunley and
12 Officer Smith, but was not provided any copies. I gave them the letter of recommendation
13 that Officer Nunley wrote for me and my notebook. After my report about Officer Nunley,
14 an FBI officer spoke to me in August 2022. After these reports, I believe my confidential
15 legal mail has been opened in retaliation by SIS Ferguson and my room was repeatedly
16 searched.
17                 16.   Beginning in January 2023, Officer Shirley and Lt. Jones have been
18 retaliating against myself and other incarcerated people. Officer Shirley has asked if I was
19 “working for them” or “reporting [him] to the FBI.” Lt. Jones states that she will punish
20 the whole unit when one person gets in trouble. Additionally, in January 2023, Officer
21 Hendricks began to yell at me and everyone in my unit to not look at what Lt. Jones was
22 doing (a strip search of the kitchen staff outside). Officer Hendricks was yelling at us to
23 “turn the fuck around” and “don’t be mad when she comes.” Lt. Jones was walked off by
24 the beginning of April.
25                 17.   When incarcerated persons report sexual assault and abuse by staff, FCI
26 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
27 delayed and overseen by staff who know and work with the offending staff member.
28 Generally nothing happens as a result. I did speak to Lt. Putnam about my experiences,
     [4257121.7]                                        3
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 1 but no one has been following up to see if I’m doing okay.
 2                 18.   There is no confidential mental health care available to survivors of sexual
 3 abuse and assault at FCI Dublin. There is very a staffing shortage in general. On my Unit
 4 Team, there are no Counselors, and my new Unit Manager refuses to talk to any of us due
 5 to fears of having a PREA report done against him. I sought out mental health help, but all
 6 they tell me to do is breathing exercises and give me packets. After several months, I am
 7 finally getting care from TriValley Care but it is not enough. I am angry, sad, and
 8 depressed and feel that there is no one I can talk to.
 9                 19.   I am experiencing intense depression and PTSD due to the abuse I
10 experienced and witnessed. Around December 2022, clinicians at FCI Dublin took me off
11 my psychiatric medications for three months for no apparent reason, causing me
12 significant suffering and harm due to the abrupt change in my medications. I want to go
13 home. I am mentally messed up because of what they did to us.
14                 20.   There is little to no medical care available to survivors of sexual abuse and
15 assault at FCI Dublin. In 2017, prior to being incarcerated I had a splenectomy. I was
16 taken off my blood-clotting medicine when I arrived at FCI Dublin. Now, I am starting to
17 go blind. Since February, I have been losing vision in my eye, and I was not able to see an
18 eye specialist for several months. My vision loss episodes have been getting more
19 frequent and are now accompanied by headaches, and I’ve fallen off the bed multiple times
20 and have bruises all over my body. When I go to sick call, they have no record of my
21 problems. Recently, when I asked Dr. Asadi to document our visit, he asked me, “what’s
22 your motive?” They keep calling me out to draw blood but not having the tubes to actually
23 take it. Another clinician asked me if I was going to “BP-9” him when I asked about
24 getting my medication. These comments and lack of care make me feel that medical is
25 retaliating against for reporting my abuse and speaking with lawyers. I don’t feel that I
26 can trust anyone here.
27 / / /
28 / / /
     [4257121.7]                                         4
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